Case 1:21-cv-21317-DPG Document 104 Entered on FLSD Docket 11/04/2021 Page 1 of 17




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


   MSP RECOVERY CLAIMS, SERIES LLC, a
   Delaware series limited liability company, MSPA
   CLAIMS I, LLC, a Florida limited liability
   company, and Series PMPI, a designated series of
   MAO-MSO Recovery II, LLC, a Delaware series                  Case No. 21-cv-21317-GAYLES
   limited liability company, on behalf of themselves
   and all others similarly situated,

   Plaintiffs,

   v.

   UNITED THERAPEUTICS CORPORATION,

   Defendant.


            PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT UNITED
                THERAPEUTICS CORPORATION’S MOTION TO STRIKE
                 PLAINTIFFS’ AMENDED CLASS ACTION COMPLAINT
                    AND INCORPORATED MEMORANDUM OF LAW

           COME NOW, Plaintiffs, MSP Recovery Claims, Series LLC; MSPA Claims I, LLC; and

   Series PMPI (collectively “Plaintiffs”), by and through their attorneys, and hereby submit

   Plaintiffs’ Response in Opposition to Defendant United Therapeutics Corporation’s Motion to

   Strike Plaintiffs’ Amended Class Action Complaint and Incorporated Memorandum of Law

   (“Motion to Strike”). For the reasons stated herein, Plaintiffs respectfully request that this

   Honorable Court deny Defendant’s Motion to Strike in its entirety.




                                             Page 1 of 17
Case 1:21-cv-21317-DPG Document 104 Entered on FLSD Docket 11/04/2021 Page 2 of 17




                                              INTRODUCTION

             Defendant United Therapeutics Corporation’s (“UT” or “Defendant”) Motion to Strike

   seeks the drastic sanction of striking entire theories of liability, parties, and class claims based on

   a technicality. Plaintiffs filed their First Amended Class Action Complaint on October 15, 2021,

   the date set by this Court for the parties to file any motions for leave to amend the pleadings. [ECF

   No. 85-1]. Thus, Defendant was on notice of all of Plaintiffs’ allegations and therefore suffered no

   harm from Plaintiffs’ technical filing mishap. Nevertheless, Defendants argue that this Court

   should strike Plaintiffs’ First Amended Complaint on the basis of “flagrant delay,” “bad faith,”

   “dilatory motive,” and “prejudice” [ECF No. 99], which would leave Plaintiffs and all potential

   class members without redress for the harms suffered at Defendant’s hand. This would be an unjust

   result.

             Plaintiffs have, at all times, acted in good faith, with the best of motives, and with no intent

   to cause undue delay, despite allegations by Defendant to the contrary. Given Plaintiffs’ good faith

   intentions, the lack of delay in apprising Defendant of Plaintiff’s claims, and Plaintiffs’ willingness

   to consent to any necessary extensions, Defendant suffered no prejudice from Plaintiffs’ actions.

             To illustrate the lack of harm suffered by Defendant, Plaintiffs provide this Court with a

   brief summary of the actions taken by the parties since this case was originally filed in July 2020

   in the District of Massachusetts. Plaintiffs’ conduct concretely illustrates that their conduct in this

   case was at all times carried out in good faith. Additionally, Plaintiffs argue that Defendant’s forum

   shopping and dilatory tactics have done much more to delay this case than any unintended

   procedural infirmity on Plaintiffs’ part. Accordingly, Plaintiffs respectfully request this Honorable

   Court to deny Defendant’s Motion to Strike. [ECF No. 99].




                                                  Page 2 of 17
Case 1:21-cv-21317-DPG Document 104 Entered on FLSD Docket 11/04/2021 Page 3 of 17




                                       APPLICABLE FACTS

   1.    On July 27, 2020, Plaintiffs initiated the instant action, MSP Recovery Claims. Series LLC

         v. Caring Voice Coalition, Inc., No. 20-cv-11418 (D. Mass. Filed July 27, 2020)

         (“Massachusetts Action”). [ECF No. 1].

   2.    In the Massachusetts Action, on November 10, 2020, the parties submitted, a Joint Motion

         to Extend Defendant United Therapeutics Corporation’s Time to Respond where the

         Plaintiffs “consented to an extension of sixty (60) days for UT to answer or respond to their

         Complaint under Federal Rule of Civil Procedure 12 or otherwise, until and through

         January 12, 2021.” [ECF No. 9 at 2].

   3.    On December 9, 2020, UT filed its Motion to Transfer Venue to the U.S. District Court for

         the Southern District of Florida pursuant to 28 U.S.C. §1404(a). [ECF No. 12].

   4.    On December 15, 2020, UT filed a motion seeking to extend the deadline to answer or

         respond to Plaintiffs’ Complaint “until 21 days following the Court’s ruling on the pending

         motion to transfer . . .” [ECF No. 12 at 5].

   5.    On December 23, 2020, Plaintiffs responded to UT’s motion to extend, explaining that

         Plaintiffs have already agreed to an additional 21 days—in addition to the previously

         agreed upon 60 days (for a total of 81 days)—for UT to file an answer or respond to

         Plaintiffs’ Complaint. [ECF No. 19 at 4].

   6.    On January 5, 2021, the Massachusetts District Court denied UT’s motion to extend the

         deadline to answer or respond to Plaintiffs’ Complaint. [ECF No. 35 at 2, ¶ 8].

   7.    On January 7, 2021, again, at UT’s request, the parties filed another joint motion where

         “Plaintiffs consented to an [additional] extension of fourteen (14) days for UT to answer

         or respond to their Complaint under Federal Rules of Civil Procedure 12 or otherwise, until



                                             Page 3 of 17
Case 1:21-cv-21317-DPG Document 104 Entered on FLSD Docket 11/04/2021 Page 4 of 17




         and through January 26, 2021 . . .” [Id. at ¶ 9]. The motion was granted on January 12,

         2021. [ECF No. 36].

   8.    On January 26, 2021, six months after the initiation of this lawsuit, UT filed its Answer to

         the Complaint. [ECF No. 43]. UT did not file a Motion to Dismiss.

   9.    On February 24, 2021, the parties, including co-defendant in the Massachusetts Action,

         Caring Voice Coalition, Inc. (“CVC”), presented to the hearing on UT’s Motion to

         Transfer. Due to, inter alia, CVC’s representations that it contested personal jurisdiction

         in Florida, Judge Young declined to move forward with the hearing as scheduled.

   10.   Accordingly, the hearing on UT’s Motion to Transfer was rescheduled for and took place

         on March 31, 2021.

   11.   On April 6, 2021, after extensive briefing and oral arguments, as set forth above, the

         Massachusetts Court ordered this case to be “transferred to the United States District Court

         for the Southern District of Florida as to defendant United Therapeutics only.” [ECF No.

         57].

   12.   On April 7, 2021, this Court notified Plaintiffs that additional actions needed to be taken

         in order for the attorneys of record to appear before the Court, including, 1) retaining local

         counsel, and 2) filing written applications and motions seeking pro hac vice admission

         before this Court. [ECF No. 61].

   13.   On April 26, 2021, UT filed a Motion to Reassign Case/Transfer Case to the Hon. Cecilia

         Altonaga. [ECF No. 71].

   14.   On May 10, 2021, Plaintiffs filed a memorandum opposing UT’s Motion to Reassign

         Case/Transfer Case to the Hon. Cecilia Altonaga. [ECF No. 71]. In it, Plaintiffs informed

         this Court of the various tactics UT has implemented in litigation with Plaintiffs over the



                                             Page 4 of 17
Case 1:21-cv-21317-DPG Document 104 Entered on FLSD Docket 11/04/2021 Page 5 of 17




          course of years in an apparent attempt at “judge shopping” by continuously seeking to

          transfer this case (and other, unrelated cases) to different judges, or courts, while at the

          same time repeatedly seeking concessions to delay litigating this case on its merits. [ECF

          No. 75].

   15.    On August 25, 2021, this Court denied UT’s Motion to Reassign Case/Transfer Case to the

          Hon. Cecilia Altonaga. [ECF No. 79]. As explained by this Court:

          Defendant requests that this case be transferred to Chief Judge Altonaga, who
          presided over a lower-numbered case involving the same parties and same facts.
          The Court does not find a sufficient basis to transfer this action as the case before
          Chief Judge Altonaga was voluntarily dismissed during the pleading stage of
          litigation and Chief Judge Altonaga did not rule on any motions.[ 1]

   16.    That same day, this Court ordered the parties to submit a Joint Scheduling Report and

          Proposed Scheduling Order by September 7, 2021. [ECF No. 80].

   17.    On September 7, 2021, pursuant to this Court’s August 25th Order, the parties submitted

          their Joint Scheduling Report. [ECF No. 85]. The parties also sought deviation from this

          Court’s Standard Order explaining,

          [a]s the case is presently framed and in light of the complexities of document and
          testimonial discovery in light of the ongoing coronavirus pandemic, the Parties
          suggest adoption of a complex case management track pursuant to S.D. Fla. L.R.
          16.1(a)(2).

   18.    Accordingly, the parties proposed, among other things, that Plaintiffs be provided until

          October 15, 2021 to 1) join any additional parties (if needed) and 2) seek to amend the

          Complaint (if needed). The parties further proposed that Defendant also be provided until



   1
    Ironically, and as explained in Plaintiffs’ opposition to Defendant’s attempt to reassign this case
   to Chief Judge Altonaga, since as early as November 15, 2018, even Chief Judge Altonaga had
   been presented with and rejected UT’s attempts to remove the case previously before her involving
   some of the same parties. [ECF No. 75 at 3] (citing MSP Recovery Claims Series, LLC. v. United
   Therapeutics Corp., No. 18-cv-24398-CMA (S.D. Fla. Nov. 15, 2018)).

                                              Page 5 of 17
Case 1:21-cv-21317-DPG Document 104 Entered on FLSD Docket 11/04/2021 Page 6 of 17




          October 15, 2021 to file its Motion for Judgment on the Pleadings. In addition, the parties

          proposed that fact discovery be completed by September 6, 2022 (approximately one year

          from now), and trial be conducted on October 9, 2023 (approximately 2 years from now).

          [ECF No. 85-1]. 2

   19.    On October 15, 2021 (the date agreed upon by the parties for Plaintiffs to join parties and/or

          seek an amendment of the Complaint), Plaintiffs filed their Amended Complaint and joined

          two additional parties to this case. In particular, the Amended Complaint included the

          addition of 1) Defendant, Smiths Medical, Inc., a manufacturer that conspired with UT to

          ensure UT maintained complete market dominance by creating artificial barriers that

          eliminated generic competition, thereby permitting UT to charge supra-competitive prices

          for their drugs, and 2) Plaintiff, Series 44 (as a class representative), a subsequent assignee

          of Plaintiff MSP Recovery Claims, Series LLC of assignments from various Medicare

          Advantage organizations (“MAO”) that were injured by the Defendants’ anticompetitive

          conduct as those MAOs were forced to pay the supra-competitive prices for UT’s drugs

          that would have otherwise not been possible but for Defendants’ anticompetitive conduct

          and scheme to defraud.

   20.    On October 21, 2021, when made aware of the oversight, Plaintiffs filed their Motion for




   2
    Again, contrary to UT’s unfounded assertions that Plaintiffs engaged in “a disruptive exercise in
   bad faith and gamesmanship” or that Plaintiffs “tactically concealed” their intention to amend the
   Complaint, the proposed scheduling order even provided for the possibility that Plaintiffs would
   seek to amend the Complaint. Specifically, the Joint Scheduling Report, under the heading,
   “Necessity of Amendment to Pleadings” states, “Plaintiffs will be guided by the deadline to amend
   the pleadings set forth above, unless good cause for an amendment outside the deadline is shown.”
   [See ECF No. 85 at 4]. Clearly, UT’s representations that there was a “dilatory motive” behind
   Plaintiffs’ amendment in unfounded, as the opportunity to amend was specifically contemplated
   and stipulated to in the Joint Scheduling Order filed by the parties.


                                              Page 6 of 17
Case 1:21-cv-21317-DPG Document 104 Entered on FLSD Docket 11/04/2021 Page 7 of 17




          Leave to Amend Complaint—which is currently pending before this Court. [ECF No. 98].

   21.    Later that same day, UT filed its motion seeking to strike Plaintiffs’ Amended Complaint

          in its entirety. [ECF No. 99].

                   PLAINTIFFS’ MEMORANDUM OF LAW
          IN SUPPORT OF PLAINTIFFS’ RESPONSE IN OPPOSITION TO
    DEFENDANT UNITED THERAPEUTICS CORPORATION’S MOTION TO STRIKE
          PLAINTIFFS’ FIRST AMENDED CLASS ACTION COMPLAINT

          Defendant’s Motion to Strike Plaintiffs’ First Amended Class Action Complaint (“Motion

   to Strike”) should be denied because Plaintiffs’ First Amended Class Action Complaint

   (“Amended Complaint”) was filed without delay, Plaintiffs acted in good faith in timely filing of

   the Amended Complaint, and Defendant is in no way prejudiced by this filing.

          “Although a court has broad discretion in considering a motion to strike, the ability to strike

   is considered to be drastic, and is often disfavored.” United States v. Meyer, 376 F. Supp. 3d 1290,

   1295–96 (S.D. Fla. 2019), reconsideration denied, No. 18-CV-60704, 2019 WL 1977103 (S.D.

   Fla. Apr. 26, 2019) (citing Kapow, 2017 WL 5159601, at *1; Hilson v. D’more Help, Inc., No. 15-

   cv-60155, 2015 WL 5308713, at *1 (S.D. Fla. Sept. 11, 2015); S. River Watershed All., Inc. v.

   DeKalb Cty., Georgia, 484 F. Supp. 3d 1353, 1361–62 (N.D. Ga. 2020) (citing TracFone Wireless,

   Inc. v. Zip Wireless Prod., Inc., 716 F. Supp. 2d 1275, 1290 (N.D. Ga. 2010). “Motions to strike

   are disfavored and viewed as ‘a drastic remedy to be resorted to only when required for the

   purposes of justice.’”); Tingley Sys. Inc. v. Bay State HMO Mgmt. Inc., 833 F. Supp. 882, 884

   (M.D. Fla. 1993) (Motions to strike are generally viewed with disfavor and are “often considered

   time wasters.”).

          As such, “[a] motion to strike will usually be denied unless the allegations have no possible

   relation to the controversy and may cause prejudice to one of the parties.” Hilson, 2015 WL

   5308713, at *1 (quoting Harty v. SRA/Palm Trails Plaza, LLC, 755 F. Supp. 2d 1215, 1218 (S.D.

                                              Page 7 of 17
Case 1:21-cv-21317-DPG Document 104 Entered on FLSD Docket 11/04/2021 Page 8 of 17




   Fla. 2010)); see also Home Mgmt. Sols., Inc. v. Prescient, Inc., No. 07-20608-CIV, 2007 WL

   2412834, at *1 (S.D. Fla. Aug. 21, 2007) (same); Thompson v. Kindred Nursing Ctr. E., LLC, 211

   F. Supp. 2d 1345, 1348 (M.D. Fla. 2002) (same).

          Importantly, a motion to strike is not intended to “procure the dismissal of all or part of a

   complaint.” Hutchings v. Fed. Ins. Co., 2008 WL 4186994 at *2 (M.D. Fla. Sept. 8, 2008);

   Williams v. Delray Auto Mall, Inc., 289 F.R.D. 697, 699–700 (S.D. Fla. 2013) ("[M]otions to strike

   are not an appropriate form of dismissal of a complaint.”). Generally, “courts should not tamper

   with the pleadings unless there is a strong reason for so doing.” City of New York v. Fedex Ground

   Package Sys., Inc., 314 F.R.D. 348, 354 (S.D.N.Y. 2016) (citation omitted).

                                             ARGUMENT

          UT raises various arguments in this Rule 12(f) Motion to Strike. Particularly, UT argues,

   1) Plaintiffs “tactically concealed their intent to amend” until October 15, 2021; 2) Plaintiffs had

   no right to amend the complaint because the “deadline to amend as of right . . . passed ten months

   ago” [ECF No. 99 at 8)]; 3) Plaintiffs’ “tactical . . . delay” is “highly prejudicial to UT” because

   of the “expense, effort, and time devoted” to UT’s preparation of its Motion for Judgment on the

   Pleadings—which was also filed on October 15, 2021 (as contemplated and agreed upon by the

   parties in their Joint Scheduling Order); 4) Plaintiffs “exercised a complete lack of diligence in

   pursuing the new claims included in their Amended Complaint,” therefore “[g]ood cause does not

   exist here . . .” [Id. at 13]; and 5) Plaintiffs’ Amended Complaint was the result of “undue delay,

   bad faith, [and] dilatory motive . . .” [Id. at 14]. As discussed below, each of these arguments are

   without merit and do not justify the “drastic” sanction of striking the Amended Complaint. Meyer,

   376 F. Supp. at 1295–96. Defendant’s Motion to Strike is improper and should be denied.

     I.   PLAINTIFFS SHOULD BE PERMITTED TO TEST THEIR CLAIMS ON THE
          MERITS

                                              Page 8 of 17
Case 1:21-cv-21317-DPG Document 104 Entered on FLSD Docket 11/04/2021 Page 9 of 17




          The United States Supreme Court has identified four factors that a court should consider

   when a party files a motion for leave to amend a pleading after the applicable scheduling order

   deadline has passed:

          (1) the danger of prejudice to the other party; (2) the length of the delay and its
          potential impact on the judicial proceedings; (3) the reason for the delay, including
          whether it was within the reasonable control of the movant; and (4) whether the
          movant acted in good faith.

   Estate of Washington v. Carter’s Retail, Inc., No. 10–cv–1136–J–32TEM, 2011 WL 2731291, at

   *3 (M.D. Fla. July 13, 2011) (citing Pioneer Inv. Servs. Co v. Brunswick Assocs. Ltd. P'ship, 507

   U.S. 380, 395 (1993)). Each of these factors weigh in Plaintiffs’ favor here.

          A. Defendant Was Not Prejudiced

          The first factor weighs in favor of Plaintiffs because Defendant cannot establish that it

   suffered any prejudice by Plaintiffs’ four-day delay in filing their motion for leave to amend the

   pleadings. In fact, the only argument Defendant asserted with regards to this factor is,

          There is no other explanation for this behavior, which has needlessly prejudiced
          UT, consumed the resources of both UT and the Court, and caused UT to incur
          additional and unnecessary expenses. Even setting aside the wasted costs associated
          with the Motion for Judgment on the Pleadings, the Amended Complaint would
          significantly complicate the issues in this case with an entirely unrelated antitrust
          case, to UT’s detriment.

   [ECF No. 99 at 15]. Defendant’s generic statement that it suffered harms, waste and prejudice is

   unpersuasive given that Defendant provides no factual support for these claims.

          First, any costs associated with the Motion for Judgment on the Pleadings were costs that

   would have been incurred whether Plaintiffs filed their Motion for Leave to Amend the Pleadings

   contemporaneous with the filing of their Amended Complaint on October 15, 2021, or at some

   point thereafter. The parties stipulated and jointly proposed an order setting October 15, 2021 as

   the date for 1) Plaintiffs to move to amend the Complaint, and 2) Defendants to file their Motion

                                              Page 9 of 17
Case 1:21-cv-21317-DPG Document 104 Entered on FLSD Docket 11/04/2021 Page 10 of 17




   for Judgment on the Pleadings. Any costs associated with Defendants’ Motion for Judgment on

   the Pleadings are not costs incurred as a result of Plaintiffs’ conduct but are costs Defendants

   would have incurred anyway. UT can hardly argue that it would not have filed its Motion for

   Judgment on the Pleadings in reliance on Plaintiffs’ aspirational assertion that they intended amend

   the complaint.

          In addition, Defendant was not prejudiced by the late filing of the Motion to Amend, as the

   actual Amended Complaint was filed in advance of the Motion deadline, putting Defendant on

   notice of Plaintiffs’ restructured claims. See Nova Bank v. Musser, No. 11-cv-81311, 2012 WL

   13019187 (S.D. Fla. Apr. 5, 2012) (order denying motion to strike and granting leave to amend

   where the amended complaint was filed absent leave of court but otherwise timely and defendant

   was not unduly prejudiced, opining that “the Court prefers to adjudicate cases on the merits rather

   than procedural technicalities.”).

          UT’s argument that it would suffer a “detriment” from having to defend against the

   antitrust allegations in the Amended Complaint is not the kind of prejudice that would preclude

   the relief Plaintiffs seek. For example, as explained in Monroe v. McDonald’s Rests. of Fla., Inc.,

   No. 4:10CV490-RH/WCS, 2011 WL 13238373, at *1 (N.D. Fla. July 21, 2011),

          Having to defend new claims on the merits—without any impairment in the ability
          to do so and even without any duplication of effort—is not the kind of prejudice
          that warrants denying leave to amend. When, as here, a defendant will be able to
          defend the new allegations as fully and fairly as it would have been able to do had
          the allegations been asserted in the original complaint, then the plaintiff’s failure to
          make the allegations originally—that is, the plaintiff’s proffering of the allegations
          in the amended complaint instead of in the original complaint—causes the
          defendant no substantial prejudice.

   Simply put, UT’s assertions that it was prejudiced lack merit and should be disregarded.




                                              Page 10 of 17
Case 1:21-cv-21317-DPG Document 104 Entered on FLSD Docket 11/04/2021 Page 11 of 17




          B. Any Impact on Defendant was De Minimis

          The second factor (the length of the delay and its potential impact on the judicial

   proceedings), also weighs in Plaintiffs’ favor. Here, any minimal delay had little impact on judicial

   proceedings, other than the briefing on UT’s filing of this Motion to Strike. Pursuant to Local Rule

   5C, in order to seek leave to amend a complaint, Plaintiffs were required to file the actual proposed

   Amended Complaint, along with a motion seeking leave from this Court. Pursuant to this Court’s

   Scheduling Order, Plaintiffs were required to move to amend their Complaint by October 15, 2021.

   Plaintiffs timely filed their proposed Amended Complaint by that date, but inadvertently failed to

   file a motion seeking leave to amend until four-days later. UT has not identified any detrimental

   impact on judicial proceedings caused by this minimal delay—as there is none. This factor also

   weighs in Plaintiffs’ favor.

          C. Plaintiffs Acted in Good Faith

          With regards to the third factor (the reason for the delay) and fourth factor (whether the

   movant acted in good faith), those factors also weight in Plaintiffs’ favor. Plaintiffs’ delay was due

   to an inadvertent failure to file a motion for leave on the same date that Plaintiffs filed their

   Amended Complaint. Contrary to the inflammatory rhetoric in UT’s Motion to Strike, at all times

   Plaintiffs conduct was in good faith.

          The Supreme Court has held that, absent bad faith, leave to amend should be freely given.

          If the underlying facts or circumstances relied upon by a plaintiff may be a proper
          subject of relief, he ought to be afforded an opportunity to test his claim on the
          merits. In the absence of any apparent or declared reason—such as undue delay,
          bad faith or dilatory motive on the part of the movant, repeated failure to cure
          deficiencies by amendments previously allowed undue prejudice to the opposing
          party by virtue of allowance of the amendment, futility of amendment, etc.—the
          leave sought should, as the rules require, be ‘freely given.’

   Foman v. Davis, 371 U.S. 178, 182 (1962) (emphasis added).



                                              Page 11 of 17
Case 1:21-cv-21317-DPG Document 104 Entered on FLSD Docket 11/04/2021 Page 12 of 17




           Here, there is no evidence that the filing of the Amended Complaint was the result of

   “undue delay, bad faith or dilatory motive,” or any other factor enumerated by the Supreme Court

   in Foman. As discussed above, most, if not all, of the delay that has occurred to date in this case

   was the result of UT’s continuous attempts to forum shop and seek extensions, thus delaying the

   litigation of this case on its merits.

           Again, Plaintiffs never acted in bad faith or with a dilatory motive. Rather, Plaintiffs

   worked diligently to determine whether the original Complaint required amending—as

   contemplated by the parties in their Joint Scheduling Order. Given the fact that the original

   Complaint was filed in the District of Massachusetts, and drafted toward a different jurisdictional

   standard, and in accordance with stare decisis, many hours were invested making this

   determination. Plaintiffs then worked diligently to amend the Complaint to include additional

   allegations, theories of liability, one defendant (Smiths), and one class representative (Series 44).

   Plaintiffs filed the Amended Complaint by the Court’s deadline. Plaintiffs’ failure to file a motion

   for leave to amend contemporaneous with the Amended Complaint was certainly not due to “undue

   delay, bad faith, or dilatory motive,” but rather, it was due to inadvertence or mistake.

           As explained by the court in Landi v. Home Depot USA, Inc., 2018 WL 11344398, at *2

   (M.D. Fla. Dec. 10, 2018):

           the Court applies the good cause and excusable neglect standards found in Rules 6
           and 16 in determining whether to grant an untimely motion for leave to amend a
           pleading. See Fed. R. Civ. P. 6(b)(1) (“When an act may or must be done within a
           specified time, the court may, for good cause, extend the time ... on motion made
           after the time has expired if the party failed to act because of excusable neglect.”);
           Fed. R. Civ. P. 16(b)(4) (“A schedule may be modified only for good cause and
           with the judge's consent.”)…

           …Furthermore, with regard to excusable neglect, this Court has recognized that
           “Congress plainly contemplated that the courts would be permitted, where
           appropriate, to accept late filings caused by inadvertence, mistake, or carelessness,
           …” Estate of Washington, 2011 WL 2731291, at *2 (quoting Pioneer Inv. Servs.

                                              Page 12 of 17
Case 1:21-cv-21317-DPG Document 104 Entered on FLSD Docket 11/04/2021 Page 13 of 17




            Co. v. Brunswick Assocs. Ltd. P’ship, 507 U.S. 380, 388 (1993)). The determination
            of whether a party has established excusable neglect “is at bottom an equitable
            one.” Pioneer Inv. Servs. Co., 507 U.S. at 395.

            The Landi Court then determined that the Motion for Leave to Amend the Complaint filed

   five days late was the result of “inadvertence, mistake, or carelessness” of the party and, because

   discovery was still ongoing, the Landi Court granted the motion and permitted the plaintiff to

   amend the complaint.

            The same conclusion was reached by the court in Salem Homes of Fla., Inc. v. Res-Care

   Inc., No. 3:19-CV-333-J-39MCR, 2020 WL 11362262, at *9 (M.D. Fla. Mar. 30, 2020) where the

   court denied the defendant’s motion to strike the amended complaint filed out of time and without

   court leave because, 1) “discovery had not begun,” 2) the case did not “involve any repeated

   failures to cure deficiencies or undue delay,” 3) the amendment would not prove futile, and 4)

   courts have a “strong preference that cases be heard on the merits . . .” See also Wiand v. Buhl,

   No. 8:10-CV-75-T-17MAP, 2011 WL 6048829, at *2 (M.D. Fla. Nov. 3, 2011), report and

   recommendation adopted, No. 8:10-CIV-75-T-17-MAP, 2011 WL 6048741 (M.D. Fla. Dec. 6,

   2011) (Denying the defendant’s motion to strike an amended complaint filed out of time in light

   of the early stage of the case and “the severity of striking a complaint in its entirety under Rule

   12(f) . . .”).

            At this stage in the proceedings, Plaintiffs’ amendment has no substantial impact on the

   timing of this case. This Court’s Scheduling Order was entered recently. The parties have yet to

   engage in discovery or any substantial motion practice. Discovery is not set to conclude until

   September 2022 (approximately one year from now). Trial is not set to occur until October 2023

   (approximately two years from now). With respect to the factors identified by the Supreme Court

   in Foman, there is no evidence of “undue delay, bad faith or dilatory motive on the part of the



                                              Page 13 of 17
Case 1:21-cv-21317-DPG Document 104 Entered on FLSD Docket 11/04/2021 Page 14 of 17




   movant, [or] repeated failure to cure deficiencies by amendments previously allowed . . .”

             As explained above, Plaintiffs’ filing of the Amended Complaint without an accompanying

   motion for leave was inadvertent, and it was certainly not an “obvious tactical decision made in

   bad faith,” as argued by UT. [ECF No. 99 at 15]. The drastic sanction sought by Defendant to

   strike an entire theory of liability and two parties (including one class representative) from this

   case is simply not appropriate under the circumstances of this case and this Court should deny

   Defendant’s motion in its entirety.

       II.   DEFENDANT FAILS TO ESTABLISH UNDUE PREJUDICE SUFFICIENT TO
             JUSTIFY THE DRASTIC SANCTION IT SEEKS

             UT’s arguments are contradictory. On one hand, UT argues that permitting Plaintiffs to file

   the Amended Complaint would be highly prejudicial given the time and expense invested in its

   Motion for Judgment on the Pleadings, while simultaneously arguing that the Amended Complaint

   should be dismissed for the reasons outlined in the very same motion. [ECF No. 99 at 16 –

   Defendant’s assertion that “the Amended Complaint adds nothing of value to the existing RICO

   claims. Nor does it address the host of defects described at length in UT’s Motion for Judgment

   on the Pleadings.”]. 3 Defendant cannot have it both ways.

             UT cannot feign shock that Plaintiffs amended their complaint. The parties jointly agreed

   on October 15, 2021, as the deadline for 1) “Joinder of any additional parties and filing of motions

   to amend the complaint” and 2) any “Motion for judgment on the pleadings to be filed by.” Id.

   Given the fact that both motions were to filed by October 15, 2021, it is difficult to conceive how

   Plaintiffs’ inadvertent failure to file a motion to leave contemporaneously with the Amended

   Complaint resulted in additional time and expense for UT to prepare and file its Motion for



   3
    It should be noted that Defendant’s Motion for Judgment on the Pleadings was filed on October
   15, 2021 at 10:18 p.m. (several hours after Plaintiffs filed their Amended Complaint).
                                               Page 14 of 17
Case 1:21-cv-21317-DPG Document 104 Entered on FLSD Docket 11/04/2021 Page 15 of 17




   Judgment on the Pleadings.

          Second, UT’s assertion that Plaintiffs’ Amended Complaint is futile and would be subject

   to dismissal based on the arguments raised in its Motion for Judgment on the Pleadings further

   rebuts the contention that UT was “highly prejudiced” by Plaintiffs’ inadvertent failure to attach a

   Motion for Leave to the Amended Complaint. This argument makes apparent that UT intends to

   rely on the same arguments in support of dismissal of the Amended Complaint—thus, based on

   UT's own admission, the time and expense UT spent preparing their Motion for Judgment on the

   Pleadings was not for naught.

          It is well settled law that, in order to strike an untimely filed amended complaint (or motion

   for leave), the moving party must demonstrate that it suffered prejudice “from the delay, not from

   having to continue to litigate the case.” See e.g., Estate of Washington, 2011 WL 2731291, at *2

   (quoting Conn. State Dental Ass’n v. Anthem Health Plans, Inc., 591 F.3d 1337, 1357 (11th Cir.

   2009) (granting motion to extend time to amend complaint and motion to amend complaint to add

   a party and finding that defendants suffered no “discernable prejudice” because motion was filed

   only one day late and because discovery was still ongoing); Landi, 2018 WL 11344398, at *2

   (same); see also Carruthers v. BSA Advert., Inc., 357 F.3d 1213, 1217 (11th Cir. 2004) (“Even if

   the plaintiff’s actions did constitute undue delay, the defendant has not alleged any real prejudice

   resulting from the delay and it is doubtful that it could. It is true that prejudice can result where a

   proposed amendment raises a new legal theory that would require the gathering and analysis of

   facts not already considered by the opposing party but that basis for a finding of prejudice

   essentially applies where the amendment is offered shortly before or during trial.”).

          Plaintiffs’ Amended Complaint is compatible with, and complementary to, the operative

   Complaint. UT’s argument that the Amended Complaint is incompatible with the original



                                               Page 15 of 17
Case 1:21-cv-21317-DPG Document 104 Entered on FLSD Docket 11/04/2021 Page 16 of 17




   Complaint is defeated by a cursory review of the paragraphs, parties, and claims added in the

   Amended Complaint. The additions are consistent with, and offer further support for, Plaintiffs’

   contention that health care plans were victims of UT’s scheme to defraud and anticompetitive

   conduct and suffered injuries by either 1) paying for drugs that they would have not otherwise paid

   for, or 2) paying much more than they would have paid but for defendants’ conduct.

           Lastly, to briefly address UT’s assertion that permitting the filing of the Amended

   Complaint would be unfairly prejudicial because of the expense of litigating additional theories of

   liability, it should be noted that Plaintiffs (and the class they seek to represent) sustained injuries,

   inter alia, when paying for UT drugs at artificially inflated prices. As such, defendants will be held

   accountable for the damages caused by their illegal conduct in this action or another. See, e.g.,

   Hayes Healthcare Servs., LLC v. Meacham, 331 F.R.D. 441, 443 (S.D. Fla. 2019) (granting leave

   to file amended complaint out of time due to the “interests of justice served by allowing Plaintiffs

   an opportunity to test [their] claims on the merits,” and due to the plaintiffs’ ability to file “a

   separate action against [the same defendant] based on the same set of facts at issue in this case.”)

   (citing Foman, 371 U.S. at 182). Given UT’s inability to demonstrate any prejudice—let alone

   undue prejudice—in its Motion, the drastic relief they seek should be denied.

                                             CONCLUSION

          WHEREFORE, based on the foregoing, Plaintiffs respectfully request that this Court

   DENY Defendant’s motion in its entirety and for all such further relief as this Court deems just

   and proper.

   Dated: November 4, 2021                                 Respectfully submitted,

                                                           /s/: Eduardo Bertran
                                                           Eduardo Bertran, FL Bar. No. 94087
                                                           ARMAS BERTRAN ZINCONE
                                                           4960 SW 72nd Ave., Ste 206

                                               Page 16 of 17
Case 1:21-cv-21317-DPG Document 104 Entered on FLSD Docket 11/04/2021 Page 17 of 17




                                                      Miami, FL 33155
                                                      ebertran@armaslaw.com


                                                      Shereef H. Akeel (MI Bar No. P54345)
                                                      Hasan Kaakarli (MI Bar No. P81099)
                                                      Adam Akeel (MI Bar No. P81328)
                                                      AKEEL & VALENTINE, PLC
                                                      888 West Big Beaver Road, Ste. 420
                                                      Troy, MI 48084
                                                      (248) 269-9595
                                                      shereef@akeelvalentine.com
                                                      hasan@akeelvalentine.com
                                                      adam@akeelvalentine.com
                                                      (Admitted pro hac vice)

                                                      Michael O. Mena (FL Bar No. 010664)
                                                      John W. Cleary (FL Bar No. 118137)
                                                      MSP RECOVERY LAW FIRM
                                                      2701 South Le Jeune Road
                                                      Coral Gables, Florida 33134
                                                      (305) 614-2222
                                                      serve@msprecoverylawfirm.com
                                                      mmena@msprecoverylawfirm.com
                                                      jcleary@msprecoverylawfirm.com




                                        CERTIFICATE OF SERVICE
           I hereby certify that on this 4th day of November, 2021, I filed the foregoing document

    with this Court using the CM/ECF filing system. This system sends notifications of such filing

    and service to all counsel of record.

                                                      /s/: Eduardo Bertran




                                            Page 17 of 17
